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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

ARTURO DeLEON-REYES,                )
                                    )
                                    )     Case No. 1:18-cv-01028
                  Plaintiff,        )
                                    )
      v.                            )
                                    )     Magistrate Judge Sunil R. Harjani
REYNALDO GUEVARA, et al.,           )
                                    )
                                    )
                  Defendants.       )
______________________________________________________________________________

GABRIEL SOLACHE,                               )
                                               )       Case No. 1:18-cv-02312
                       Plaintiff,              )
                                               )
       v.                                      )
                                               )       Magistrate Judge Sunil R. Harjani
CITY OF CHICAGO, et al.,                       )
                                               )
                                               )
                       Defendants.             )


                                               ORDER

       Plaintiffs’ motion for leave to supplement their Rule 26(a)(1) disclosures and to issue a
document subpoena [DeLeon 442, Solache 314] is granted. Federal Rule of Civil Procedure
16(b)(4) allows the Court to modify a discovery schedule for good cause shown. This Court has
previously stated in an order on March 22, 2021 that no new deposition witnesses could be added
without leave of Court [DeLeon 411]. To be clear, Plaintiffs’ request here is to supplement their
Rule 26(a)(1) disclosures, not the deposition list that the Court previously declared as the final list.
And Plaintiffs have a continuing obligation to supplement discovery under Rule 26(e) even without
leave of Court. Regardless, Plaintiffs have demonstrated good cause to disclose these additional
witnesses.

        First, Plaintiffs have demonstrated that the importance of Bernard Sarley and Kevin Smith
as individuals with relevant knowledge was revealed when the complete Felony Review file was
disclosed on June 11, 2021, and specifically, that Mr. Sarley believed there were injuries to Mr.
Solache’s body such that he requested an order from the Court on April 6, 1998 that pictures be
taken of Mr. Solache. Mr. Smith appears to have participated in that hearing. While Defendants
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claim that these witnesses were previously known to Plaintiffs, Plaintiffs have made a sufficient
showing that they only recently determined the individuals were “likely to have discoverable
information.” Fed. R. Civ. P. 26(a)(1).

       Second, Plaintiffs have demonstrated that they recently learned that Tim Ward is an
individual that could authenticate the records at issue from Staffing Network LLC because he had
knowledge of the company’s record keeping practices in or about March 1998, the relevant
timeframe. This is sufficient to constitute an “individual likely to have discoverable information.”
Id.

        The question then, with these late disclosures of Rule 26(a)(1) individuals after non-Monell
fact discovery has closed, is how to rectify any prejudice to Defendants from these supplemental
disclosures. In order to cure any prejudice, the Court grants Defendants’ request for leave to issue
subpoenas to depose Mr. Sarley and Mr. Ward. Defendants’ request to depose Mr. Smith is denied
for lack of good cause. There is no prejudice to Defendants with Mr. Smith as he was previously
disclosed by Defendants on their own Rule 26(a)(1) disclosures, and he could have been placed on
Defendants’ deposition witness list if the deposition was really necessary. Further, a Rule 26(a)(1)
witness disclosure is not the same as a trial witness list, and Plaintiffs’ act of supplementing its
Rule 26(a)(1) disclosures with Mr. Smith does not automatically convert him into a witness
Plaintiff will likely call at trial such that his deposition must be taken.

        As for the document subpoena, the Court grants leave to issue the subpoena to the Office
of Investigations, Office of the Public Defender for all photos and documents regarding Plaintiffs’
injuries related to the order of April 6, 1998. Good cause has been shown that Plaintiffs may
explore whether any photos or information about photos were created as a result of the notes in
the complete Felony Review file. And, in any event, a representative from the Office of Public
Defender has already informed the Court, in anticipation of this motion, that the file “does not
contain any photos of Mr. Solache or of Mr. Reyes.” [DeLeon 452. p. 42]. Thus, it is unlikely
this material exists, and the burden on the Public Defender’s Office in responding should be
minimal. However, Plaintiffs should be permitted to confirm the existence or non-existence of
photos through the formal discovery process.

       Supplemental disclosures shall be served by July 27, 2017. Depositions of Mr. Sarley and
Mr. Smith, if desired by Defendants, shall be completed by August 30, 2021. Subpoena to the
Office of Investigations, Office of Public Defender shall issue by July 27, 2017.


SO ORDERED.


Dated: July 23, 2021                                         ______________________
                                                             Sunil R. Harjani
                                                             United States Magistrate Judge




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